EXHIBIT 7
Catalina U.S. Insurance Services LLC

Administrator on behalf of:

Alea North America Insurance Company

National American Insurance Company of California
National Home Insurance Company (RRG)

SPARTA Insurance Company

ProBuilders Specialty Insurance Company

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Members of Catalina Holdings (Bermuda) Ltd
August 16, 2022

Mr. Silver,

Please see attached an update from SPARTA Insurance Company (“SIC”) to Pennsylvania Insurance
Company (“PIC”) regarding the American Employers’ Insurance Company (“AEIC”) claims and
payments made by SIC.

SIC plans to provide periodic reports to PIC of the status of the claims made and paid. To the extent
that PIC requests further or different information, please contact me promptly.

Thanks,
Josh

Joshua Weiner
Vice President, Claims Counsel

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Catalina U.S. Insurance Services LLC

T: +1 860 773 3417
www.catalinare.com

5 Batterson Park Rd., 3rd Floor, Farmington, CT 06032 | +1 (860) 773 3410 | www.catalinare.com
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